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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

MAURICIO MARTINEZ-DIAZ,
                                                            CASE NO. 2:12-CV-00243
               Petitioner,                                  CRIM. NO. 2:10-CR-00225(5)
                                                            JUDGE MARBLEY
       v.                                                   MAGISTRATE JUDGE KING

UNITED STATES OF AMERICA,

               Respondent.

                             REPORT AND RECOMMENDATION

       Petitioner, a federal prisoner, brings this motion to vacate, set aside or correct sentence

pursuant to 28 U.S.C. § 2255. This matter is before the Court on the Motion to Vacate, Doc.

No. 135, Respondent’s Return of Writ, Doc. No. 149, Petitioner’s Reply, Doc. No. 150, and the

exhibits of the parties. Respondent has also supplemented the record, at the Court’s direction, to

reflect the fast-track program in this District.    Response to Order Requesting Fast-Track

Program Guidelines, Doc. No. 213 (“Fast-Track Program Guidelines”), and Petitioner has

responded to that supplementation, Doc. No. 214. For the reasons that follow, the Magistrate

Judge RECOMMENDS that this action be DISMISSED. Petitioner’s request for an evidentiary

hearing, see Reply, is DENIED.

Facts and Procedural History:

       The United States Court of Appeals for the Sixth Circuit summarized the facts and

procedural history of this case as follows:

               Martinez-Diaz and several other men set out to locate Manuel
               Hernandez in order to collect a drug debt. A chase resulted, during
               which Martinez-Diaz and his co-defendants shot at Hernandez,
               held a woman who assisted Hernandez in taking the drugs and her
               young daughter hostage, and requested a ransom from Hernandez
               for their safe return. The woman and her daughter were eventually

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            recovered from the house of a co-defendant. During the course of
            events, Martinez-Diaz was arrested, and a firearm recovered from
            a vehicle in which he was a passenger as it left the hostage scene.
            Subsequent arrests resulted in the seizure of several firearms that
            had been used to further the conspiracy to recover money from
            Hernandez.

            Martinez-Diaz is a citizen of El Salvador and is present in the
            United States illegally. He was charged with conspiracy to commit
            hostage-taking and hostage-taking, possession of firearms in
            furtherance of those crimes of violence, and being an illegal alien
            in possession of a firearm. Martinez-Diaz pleaded guilty to the
            count of possessing a firearm as an illegal alien in exchange for a
            dismissal of the remaining counts. In the plea agreement,
            Martinez-Diaz acknowledged that any calculation of his sentence
            under the guidelines was advisory and not binding on the court.

            The presentence report set forth a calculation of his sentence based
            on a total offense level of 37, which included a six-level
            enhancement under USSG § 2A4.1(b)(1) for the use of a firearm
            during the offense. Martinez-Diaz received a three-level reduction
            for acceptance of responsibility. With a criminal history category
            of I, the resulting sentencing guideline range was 210 to 262
            months in prison. However, this range was limited by the statutory
            maximum punishment of ten years.

            Martinez-Diaz objected to the six-level enhancement on the basis
            that the “ransom” was actually a drug debt that arose from
            Barrera’s conspiracy with Hernandez to steal the drugs from
            Martinez-Diaz. According to Martinez-Diaz, this circumstance
            prompted him to participate in the hostage taking, justifying a
            downward departure under USSG § 5K2.10. Martinez-Diaz also
            objected to the two-level enhancement, claiming that his
            possession of a firearm was only constructive.

            At sentencing, the district court rejected Martinez-Diaz’s first
            objection because Martinez-Diaz did not dispute that, even if
            Barrera had brought the situation upon herself by assisting
            Hernandez with stealing the drugs, Barrera’s daughter was
            innocent and taken as a hostage against her will. Therefore,
            Martinez-Diaz had failed to show that the victims’ conduct
            “contributed significantly to provoking the offense behavior,” as
            required by USSG § 5K2.10. The district court also rejected
            Martinez-Diaz’s second argument, because Martinez-Diaz
            admitted to at least constructive possession of a firearm and did not
            deny that, as part of a group of co-conspirators, he used a firearm

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               to kidnap and detain others, meeting the requirement for
               enhancement under USSG § 2A4.1(b)(3).

               The district court then considered several factors under 18 U.S.C. §
               3553(a), including the seriousness of the offense, Martinez-Diaz’s
               personal history and background, the need to promote respect for
               the law, the need to impose a just punishment, the need to avoid
               disparities in sentences among defendants with similar charges,
               and the need for both specific and general deterrence. The court
               sentenced Martinez-Diaz to 111 months in prison, below the
               statutory maximum and the government’s recommended sentence.

United States v. Mauricio Martinez-Diaz, No. 11-3342 (6th Cir. Feb. 27, 2012), Doc. No. 134.

On March 19, 2012, Petitioner filed the Motion to Vacate, asserting the following, single claim:

               Counsel was ineffective at sentencing for not requesting a variance
               based on U.S.S.G. 5K3.1 “fast track” program.

Respondent argues that the claim provides no basis for federal habeas corpus relief.

Discussion:

       Petitioner contends that his attorney should have requested a reduction of Petitioner’s

sentence under the “fast-track” program or a downward departure under U.S.S.G. § 5K3.1 if a

“fast-track” program was not available when he was sentenced in April 2011.

       The Southern District of Ohio did not have a “fast-track” program in place at the time

Petitioner was sentenced. Fast-Track Program Guidelines, p. 1. The program became effective

in this District on March 1, 2012, and applies to “defendants who are charged under 8 U.S.C. §

1326 with illegal reentry into the United States after having previously been removed . . . .”

Southern District of Ohio Illegal Reentry Fast-Track Program, ¶ A, attached as Exhibit A to

Fast-Track Program Guidelines. Moreover, even a defendant charged with illegal reentry may

be denied participation in the program based on that defendant’s “prior conviction(s) for . . . a

firearms offense . . . .” Id., ¶C(1). See Ona-Lopez v. United States, No. 3:13-00572, 2013 WL




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5555204, at *3 (M.D. Tenn. Oct. 8, 2013)(defendant charged with illegal reentry did not qualify

for “fast-track” program because of prior disqualifying convictions).

       The United States Court of Appeals for the Sixth Circuit described the “fast-track”

program as follows:

               Fast-tracking arose initially in border areas with large illegal
               immigration caseloads. Prosecutors sought to clear their dockets
               through either charge-bargaining or agreements to move for
               downward departures in return for defendants' agreements not to
               file pretrial motions or contest issues. Congress approved and set
               standards for this process in the Prosecutorial Remedies and Tools
               Against the Exploitation of Children Today Act of 2003
               (“PROTECT Act”), Pub.L. 108–21, 117 Stat. 650, which required
               the United States Sentencing Commission to “promulgate . . . a
               policy statement authorizing a downward departure of not more
               than 4 levels if the Government files a motion for such departure
               pursuant to an early disposition program authorized by the
               Attorney General and the United States Attorney.” PROTECT Act,
               § 401(m)(2)(b), 117 Stat. 675. The Sentencing Commission
               responded by promulgating a new Guideline authorizing a four-
               level reduction. U.S.S.G. § 5K3.1.

United States v. Camacho–Arellano, 614 F.3d 244, 247–48 (6th Cir. 2010)(quoting United States

v. Hernandez–Cervantes, 161 Fed. Appx. 508, 510 (6th Cir. Dec. 23, 2005)(unpublished)).

       By the time Camacho–Arellano was decided, the fast-track program had been adopted in

some, but not all, districts, resulting in sentencing disparities. The District Court in Camacho–

Arellano had rejected the argument that sentencing courts should factor this disparity into the

sentencing process. Relying on Kimbrough v. United States, 552 U.S. 85 (2007), the United

States Court of Appeals for the Sixth Circuit reversed and remanded the action, reasoning that a

District Judge has the discretion to impose a sentence below the recommended Guideline

sentence in light of the factors that motivated Congress to authorize the fast-track program.

Camacho-Arellano, 614 F.3d 244.




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       In the case presently before the Court, Petitioner argues that his attorney's failure to make

that argument (and the Court's failure to consider a lower sentence on this basis) deprived

Petitioner of his right to the effective assistance of counsel.

       The right to counsel guaranteed by the Sixth Amendment is the “right to effective

assistance of counsel.” Strickland v. Washington, 466 U.S. 668, 686 (1984.)             A claim of

ineffective assistance of counsel requires proof of the following elements:

               First, the defendant must show that counsel's performance was
               deficient. This requires showing that counsel made errors so
               serious that counsel was not functioning as the “counsel”
               guaranteed the defendant by the Sixth Amendment. Second, the
               defendant must show that deficient performance prejudiced the
               defense. This requires showing that counsel's errors were so
               serious as to deprive the defendant of a fair trial, a trial whose
               result is reliable.

Id. at 687. “An error by counsel, even if professionally unreasonable, does not warrant setting

aside the judgment of a criminal proceeding if the error had no effect on the judgment.” Id. at

692. In order to establish Strickland’s prejudice component, a petitioner must demonstrate a

reasonable probability that, but for counsel's errors, the result of the proceedings would have

been different. Id. at 694. “A reasonable probability is a probability sufficient to undermine

confidence in the outcome.” Id. Because a successful claim of ineffective assistance of counsel

requires proof of both prongs of the Strickland test, if a petitioner fails to establish one prong, a

court need not consider the other. Id. at 697.

       Respondent contends that, because the fast-track program was not adopted in this District

until March 2012, Petitioner’s counsel was not ineffective for failing to seek Petitioner's

participation in that program at Petitioner’s April 2011 sentencing. But see Zargosa-Tapia, 2:11-

cr-191, 2013 WL 1615556, at *4 (S.D. Ohio April 15, 2013)(District Court had discretion prior

to March 2012 to consider a lower sentence for defendant convicted of illegal reentry into the

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United States based on the disparity caused by the absence of a fast-track program in this

District). In any event, the United States contends, Petitioner would not have qualified for

participation in the fast-track program because he was charged with crimes of violence and

firearms offenses, and was convicted of possession of a firearm by an illegal alien, not illegal

reentry into the United States after having been deported.

       This Court concludes that, because of the nature of the offenses with which Petitioner

was charged and of the offense to which he pled guilty, Petitioner could not have qualified for

participation in the “fast-track” program even if such a program had been implemented in this

District at the time of Petitioner’s sentencing.      It follows, then, that his attorney was not

ineffective for failing to seek a reduction in sentence based on that program. See Ludwig v.

United States, 162 F.3d 456, 458 (6th Cir. 1998)(counsel is not required to raise meritless

arguments to avoid a charge of ineffective assistance of counsel).

       Petitioner therefore cannot establish that his attorney performed in a constitutionally

unreasonable manner by failing to request a lower sentence based on either the “fast-track”

program or any sentencing disparities arising from the absence of such a program in this District.

Likewise, Petitioner cannot establish that he was in any respect prejudiced by his counsel’s

failure to request a lower sentence on these bases.

       WHEREUPON, the Magistrate Judge RECOMMENDS that this action be

DISMISSED.

Procedure on Objections:

       If any party objects to this Report and Recommendation, that party may, within fourteen

(14) days of the date of this report, file and serve on all parties written objections to those

specific proposed findings or recommendations to which objection is made, together with



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supporting authority for the objection(s). A judge of this Court shall make a de novo

determination of those portions of the report or specified proposed findings or recommendations

to which objection is made. Upon proper objections, a judge of this Court may accept, reject, or

modify, in whole or in part, the findings or recommendations made herein, may receive further

evidence or may recommit this matter to the magistrate judge with instructions. 28 U.S.C. §

636(b)(1).

       The parties are specifically advised that failure to object to the Report and

Recommendation will result in a waiver of the right to have the district judge review the Report

and Recommendation de novo, and also operates as a waiver of the right to appeal the decision of

the District Court adopting the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140,

106 S.Ct. 466 (1985); United States v. Walters, 638 F.2d 947 (6th Cir.1981).

       The parties are further advised that, if they intend to file an appeal of any adverse

decision, they may submit arguments in any objections filed, regarding whether a certificate of

appealability should issue.

                                                             s/ Norah McCann King
                                                           Norah McCann King
                                                           United States Magistrate Judge
October 30, 2013


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